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  12

  13                            UNITED STATES BANKRUPTCY COURT

  14                                     DISTRICT OF ARIZONA

  15     In re:                                           Chapter 7

  16     PAUL OLIVA PARADIS,                              Case No. 2:20-bk-06724-PS

  17                     Debtor.

  18     CITY OF LOS ANGELES,                             Adv No. 2:21-ap-00171-PS
  19                     Plaintiff,
                                                          MOTION TO STRIKE CERTAIN
  20     v.                                               RESPONSES IN ANSWER TO
                                                          AMENDED COMPLAINT, AND
  21     PAUL OLIVA PARADIS,                              ALLEGED AFFIRMATIVE
                                                          DEFENSES
  22                     Defendant/Debtor.
  23

  24              Plaintiff, the City of Los Angeles (“City”), hereby requests that the Court strike

  25    from the Answer to Amended Complaint [ECF No. 98] (“Answer”) Defendant Paul

  26    Oliva Paradis’ (“Paradis”) numerous nonresponsive and evasive responses, and his

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   1    twelve purported affirmative defenses. Throughout the Answer, Paradis asserts

   2    incomplete blanket denials of the allegations of the Amended Complaint [ECF No. 54]

   3    (“Amended Complaint”), along with implausible or non-existent legal defenses to

   4    somehow excuse him from actually addressing those allegations. For example, to justify

   5    denying significant portions of the Amended Complaint, and to dodge providing a fair

   6    response to many of the City’s allegations, Paradis resorts to claiming to have been an

   7    FBI informant and/or alleging that a declaration he provided to the City, and signed

   8    under oath, is somehow void because he purportedly signed it under duress. Paradis

   9    should not be permitted to evade the allegations in the Amended Complaint in this way,

  10    and accordingly, paragraphs 32, 36-37, 39, 44-46, 60-61, 63, and 67-78 of the Answer

  11    should be stricken and the City’s allegations deemed admitted.

  12            The Court should also strike Paradis’ twelve alleged affirmative defenses, none of

  13    which pertain to acts by the City against Paradis related to the actual issues in this

  14    non-discharge litigation. Instead, Paradis spends 63 pages spouting wholly immaterial,

  15    impertinent, and scandalous conspiracy theories.       This is a crystal-clear attempt to

  16    massively expand the scope of the parties’ dispute and the scope of discovery. Seven of

  17    Paradis’ alleged affirmative defenses fail as a matter of law. And, Paradis’ remaining

  18    alleged affirmative defenses rely on his 63 pages of accusations having nothing

  19    whatsoever to do with the instant non-discharge action.

  20                     MEMORANDUM OF POINTS AND AUTHORITIES

  21    I.      FACTUAL BACKGROUND

  22            1.     On March 28, 2022, the City filed the Amended Complaint against Paradis

  23    thereby seeking a judgment that Paradis’ indebtedness to the City is non-dischargeable

  24    under 11 U.S.C. §§ 523(a)(2)(A), (a)(4), and (a)(6).

  25            2.     The focus of this lawsuit is the manner in which Ardent Cyber Solutions

  26    LLC f.k.a. Aventador Utility Solutions, LLC (“Ardent” or “Aventador”) obtained

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   1    consulting contracts from the City. While purporting to act in the City’s best interests,

   2    Paradis led a fraudulent criminal scheme to, among other things, bribe City officials and

   3    improperly influence the City to award a $30 million no-bid consulting contract to his

   4    wholly owned entity, Aventador, on an expedited basis (“Aventador Contract”).

   5    Moreover, after a California state court ordered that the City not make any further

   6    payments to Paradis or any Paradis entity, he brazenly defrauded the City by providing it

   7    with a false declaration concerning his purported sale of his ownership of Aventador and

   8    stating in no uncertain terms that he would have no post-sale involvement with the

   9    company, which later changed its name to Ardent. With Ardent still (but secretly) under

  10    Paradis’ ownership and control, Paradis proceeded to entice a City official into assisting

  11    him with pursuing lucrative contracts with the City for Ardent. In these ways, Paradis

  12    violated California Government Code section 1090 (conflicts of interest in government

  13    contracting), which independently also constituted a violation of California Government

  14    Code sections 12650 et seq., (California’s false claims act) as a matter of law.

  15            3.     On June 30, 2022, the Court conducted a hearing regarding Paradis’

  16    Motion to Dismiss the Amended Complaint and his request that the Court take judicial

  17    notice of numerous documents allegedly related to the City’s alleged IT problems and

  18    how those alleged IT problems came to be. During the hearing, the Court made clear

  19    that this case was not about how the City’s alleged IT problems arose and were dealt

  20    with in the Jones litigation. In that regard, the Court stated, among other things:

  21                   I don’t think this case is about whether the City knew it had
                       IT problems. I think the case is about whether Mr. Paradis
  22                   did something wrong in assisting Aventador -- and now called
                       Ardent -- in getting those contracts.
  23
        ///
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        ///
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   1    Hearing Transcript (June 30, 2022), attached as Exhibit A, at p. 4.

   2                      But when you cut down to what this case is about, isn’t it the
                          City saying Mr. Paradis had some special relationship . . . and
   3                      that in that position, and with the help of City employees, all
                          of whom have been convicted of criminal activity, that what
   4
                          happened is the City ended up with a no-bid contract
   5                      situation, where ostensibly it might have been better, it might
                          have been more appropriate, for the City to bid that out . . . I
   6                      don’t understand their argument to be, we didn’t need IT
                          services. I understand their argument to be, we shouldn’t
   7                      have done it this way. We shouldn’t have been advised to do
                          it this way. We shouldn’t have fall into the trap to do it this
   8
                          way. That’s what I understand their argument to be.
   9    Id. at pp. 5-6.
  10            4.        On July 28, 2022, the Court entered an order focusing the City’s claims
  11    against Paradis to those under 11 U.S.C. § 523(a)(2)(A) related to Paradis’ fraud, false
  12    pretenses, and false representations to the City.
  13            5.        On September 12, 2022, Paradis filed his Answer which only partially
  14    answers, or evades answering, paragraph nos. 32, 36, 37, 39, 44, 45, 46, 60, 61, 63, and
  15    67 through 78 of the Amended Complaint. The Answer also included no less than 63
  16    pages of utterly absurd allegations of “fraud” against the City and City officials having
  17    zero relevance to the actual issues at hand, along with twelve purported affirmative
  18    defenses that are not actually defenses, are clearly inapplicable here, or do not have any
  19    nexus to the actual issues before the Court.
  20    II.     LEGAL ANALYSIS
  21            A court may strike from a pleading an insufficient defense or any redundant,
  22    immaterial, impertinent, or scandalous matter. Fed. R. Civ. P. 12(f). “The function of a
  23    12(f) motion to strike is to avoid the expenditure of time and money that must arise from
  24    litigating spurious issues by dispensing with those issues prior to trial.” Whittlestone,
  25    Inc. v. Handi-Craft Co., 618 F.3d 970, 973 (9th Cir. 2010).
  26

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   1            A.     Certain of Paradis’ Denials Should Be Stricken as Evasive

   2                   or Immaterial

   3            Rule 8 of the Rules of Civil Procedure requires a defendant, in answering a

   4    complaint, to “admit or deny the allegations” and otherwise must “fairly respond to the

   5    substance of the allegation.” Fed. R. Civ. P. 8(b)(1)(B) and (b)(2). If the defendant

   6    “intends in good faith to deny only part of an allegation,” it “must admit the part that is

   7    true and deny the rest.” Id. at (b)(4). A response may be stricken where a response is “a

   8    sham, evasive, ambiguous, and uncertain, and constitutes no denial.” Peacock v. United

   9    States, 125 F. 583 (9th Cir. 1903). Under these guidelines, paragraphs 32, 36, 37, 39,

  10    44, 45, 46, 60, 61, 63, and 67 through 78 of the Answer should be stricken.

  11            In Peacock, 125 F. 583, plaintiff alleged that defendant took an oath that he was a

  12    United States citizen, he owned a ship, and no non-U.S. citizen had an interest in the

  13    ship or its profits, but, at the time of taking that oath, defendant was not a citizen.

  14    Defendant filed an answer which contained evasive denials, including denying,

  15                   that at the time of taking the oath in said petition averred, if in
                       fact taken by him, it was within the knowledge of the said
  16                   defendant, although it was within his supposition, that in truth
                       and in fact he was not a citizen of the United States of
  17                   America, or that he was a subject or a citizen of a foreign
                       power; and as to whether in fact or in law he took the oath in
  18                   said petition mentioned this defendant has no information or
                       belief upon the subject sufficient to enable him to answer the
  19                   averment of said petition of that behalf; and therefore, placing
                       his denial on the ground, he denies that he took the oath in
  20                   said petition averred.

  21    Id. at 584.

  22            The trial court struck these denials on the ground that the denials were “sham[s],

  23    evasive, ambiguous, and uncertain.” Id. In affirming, the appellate court stated that “[a]

  24    bare reading of the statement of facts will carry conviction to the mind that [the]

  25    contention [that the allegations were sufficient] cannot be sustained. The averments in

  26    the answer were clearly evasive, and in several respects were ambiguous and uncertain.”

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   1    Id. at 586. The allegations were not only matters of public record, which defendant

   2    could have examined, but also “[i]t further appears that he was directly connected with

   3    the transactions set forth in the petition, and must have known what did occur in relation

   4    thereto.” Id.; see also Cook v. Mountain America Federal Credit Union, No. 2:18-cv-

   5    1548-HRH, 2018 WL 4539973, at **1-3 (D. Ariz. September 21, 2018) (granting

   6    motion to strike paragraphs of answer where defendant denied allegations “based on the

   7    way” the allegations were “characterized,” holding that the answers “do not comport

   8    with the spirit of Rule 8” because defendant should have “explained what

   9    characterizations . . . it took issue with.”).

  10            Likewise, in Schmitz, 2022 WL 2340614, at *20, plaintiff alleged that a prison

  11    warden had certain job responsibilities. The warden admitted that he was the former

  12    warden and he “performed all the regular administrative and supervisory duties of a

  13    warden,” but denied the remaining allegations. Id. In opposing plaintiff’s motion to

  14    strike, defendant contended that his responses were proper because, inter alia, he was

  15    not “legally responsible” for the duties alleged under certain legal theories such as

  16    respondeat superior and qualified immunity. Id. The court rejected that argument and

  17    struck those paragraphs, stating that the denials based on legal theories “are better raised

  18    as affirmative defenses, or in a motion for summary judgment – not as a basis for

  19    denying plaintiffs’ factual allegations of the warden’s job duties.” Id. at **20-21.

  20            Many of Paradis’ denials suffer from similar or even more serious defects.

  21    Paradis denied fifteen (15) factual allegations of the Amended Complaint addressing his

  22    actions as well as those of his co-conspirators Wright and Alexander, and then

  23    repeatedly asserts that because he supposedly was acting at the FBI’s direction, he could

  24    not have acted as part of a fraudulent scheme. Answer, ¶¶ 36-37, 63, 67-78.

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   1    As but one example, paragraph 71 of the Amended Complaint alleges:

   2                   Among other similar communications, on July 9, 2019,
                       Paradis told Alexander, via text message, that after he
   3                   submitted the Ardent proposal, “it will be up to you to
                       ‘manage’ the evaluators the same way you did for the
   4                   SCPAA [sic] process so that we get the correct result . . .
                       [winking face emoji].” Alexander responded via text
   5                   message, ‘I know my job [crying-laughing emoji].’”
                       [Alexander Information] ¶ [21].
   6

   7    Paradis responded as follows:

   8                   Denied. As stated in ¶¶ 31-32 of the Wright Information, “on
                       or about March 29, 2019, Paradis began actively cooperating
   9                   with the FBI in a Grand Jury investigation involving the
                       Aventador Contract and related matters.” Additionally, as
                       stated in ¶ 12 of the Alexander Information, the actions
  10                   alleged in ¶ 71 of the Amended Complaint were taken by
                       Debtor while Debtor “was working at the direction of the
  11                   FBI,” and were not undertaken in connection with any
                       wrongful or fraudulent scheme by Debtor as intentionally
  12                   falsely pled by Plaintiff.

  13            This response is evasive, as well as irrelevant, and does not “fairly respond to the

  14    substance of the allegation.”     See Fed. R. Civ. P. 8(b)(2).      Paradis was “directly

  15    connected” with the transactions alleged in the Amended Complaint – i.e., Paradis’ own

  16    texts – so “he must have known what did occur.” Peacock, 125 F. at 586. If he is

  17    unable to recall, he could have, and had an obligation to, review the information in the

  18    public record, i.e., the Alexander Information that Paradis himself references in his

  19    Answer. Instead, he chose to deny the allegation not because it was incorrect, but

  20    because he relies on a non-defense that, as an alleged FBI informant, he supposedly

  21    could not have had the requisite intent. This “defense” does not constitute a proper basis

  22    for a denial. Schmitz, 2022 WL 2340614, at **21-22. Stated another way, Paradis

  23    evaded admitting an allegation that he could not reasonably deny – not because the

  24    allegation was false, but because he chose to reference a purported defense to Plaintiff’s

  25    claims.    Paragraphs 36-37, 63, 67-70, 72-78 of the Answer suffer from the same

  26    infirmity – denying allegations contained in the Alexander Information concerning

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   1    Paradis’ actions based on his dubious and irrelevant claim to have been an FBI

   2    informant. Stated more directly, even if Paradis had truly been working with the FBI, he

   3    is not insulated from liability for his misconduct.

   4            Paradis has also denied all allegations referring to his March 14, 2019, declaration

   5    confirming, inter alia, the sale of his ownership interest in, and complete dissociation

   6    from, Aventador, asserting that the declaration is void because LADWP drafted the

   7    declaration and he signed it under duress. Answer, ¶¶ 44-46, 60-61, 63. For example,
        the City alleges in paragraph 45:
   8
                       With regard to Ardent, Paradis also attested: “I will not
   9                   perform any work for the Company or any successors to the
                       Company, or have access to the Company’s offices or to
  10                   those of any successor to the Company.” Paradis Declaration
                       ¶ 6.
  11

  12    Paradis’ response:

  13                   Denied. The entirety of the “Paradis Declaration” was
                       drafted by the City, in particular, former LADWP General
  14                   Counsel, Joseph Brajevich. The City forced Debtor to sign the
                       Paradis Declaration under threats and, therefore, under
  15                   economic duress. Furthermore, by forcing Debtor to sign the
                       Paradis Declaration under economic duress, certain City
  16                   officials, including Brajevich, abused their public positions in
                       contravention of the State Bar Act, California Rules of
  17                   Professional Conduct and the Los Angeles City Ethics Code.
                       Accordingly, the Paradis Declaration is completely void and
  18                   without any legal effect.

  19            Similar to Paradis’ denials concerning his supposed relationship with the FBI, his

  20    response based on the purported invalidity of his declaration are evasive because it

  21    deliberately fails to directly address whether the facts stated in his declaration are true or

  22    false. In other words, Paradis must fairly address whether he lied under oath and, if so,

  23    as to which facts. His responses to paragraphs 44-46, 60-61, and 63 should be stricken

  24    and he must amend to provide admissions or denials to these allegations, as appropriate.

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   1            Paradis has also improperly denied two allegations of the Amended Complaint,

   2    paragraphs 32 and 39, that his “editorial comments” indicate he must admit, at least in

   3    part. Paragraph 32 of the Amended Complaint alleges:

   4                   Relying on the Independent Monitor’s report that Paradis
                       prepared, the written materials that Wright and Paradis
   5                   prepared, and Wright’s presentation that Paradis prepared
                       with Wright, in or about June 2017, the Board approved
   6                   entering into the aforementioned sole-source agreement with
                       Aventador awarding it a three-year $30 million contract. See
   7                   Paradis’ Plea, Attachment A Factual Basis ¶ 49; see also
                       Wright Plea, Attachment A Factual Basis ¶ 21.
   8
        Paradis responds to paragraph 32 as follows:
   9
                       Denied. As confirmed in ¶¶ 17-18 of the Factual Basis to the
  10                   Wright Plea, by June 4, 2017 – two days prior to Wright’s
                       June 6, 2017 presentation to the LADWP Board – “multiple
  11                   Board members,” namely Commissioners Levine, Funderburk
                       and Noonan, had already agreed to vote in favor of the
  12                   Aventador Contract before Wright had ever uttered a single
                       word of his June 6th presentation concerning the Aventador
  13                   Contract.

  14            This denial is an obvious non-responsive sham. Paragraph 32 alleges that the

  15    Board approved the Aventador agreement in reliance on (1) the Independent Monitor

  16    Report, (2) written materials that Wright and Paradis prepared, and (3) Wright’s

  17    presentation. Paradis denies this allegation based on the statement in the Wright Plea

  18    that by June 6, 2017, Wright had already obtained the support of some Board members,

  19    and therefore the Board could not have relied on the presentation given on June 6, 2017.

  20    Paradis does not mention the other two documents at all – Paradis’ response

  21    demonstrates that a portion of the allegation, at the very least, should have been

  22    admitted. Not only was Paradis involved in the occurrence and therefore “must have

  23    known what did occur,” Peacock, 125 F. at 586, but actually admitted in his Plea that the

  24    Board relied on the Independent Monitor’s report and information he personally drafted.

  25    See Paradis’ Plea, Att. A Factual Basis ¶ 32. This response, therefore, must be stricken.

  26

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   1            Paradis’ response to paragraph 39 suffers from a similar problem: his response

   2    indicates that a blanket denial is simply wrong. As alleged in paragraph 39:

   3                   Consequently, the State Court entered an order, without
                       objection from the City, prohibiting the City from making
   4                   any further payments to Paradis or to any entity in which he
                       held an interest (which included Aventador) (“State Court
   5                   Order”). Exhibit G at p. 2.

   6    Although Paradis denied this allegation, he added:

   7                   On March 19, 2019, during a hearing in the Jones Action,
                       and with respect to monies owed to Ardent, counsel for the
   8                   City admitted that the City, in fact, did object to the State
                       Court’s order and stated in relevant part:
   9                   One thing I do want to provide notice to the Court and
                       everybody, there is an outstanding invoice and the new
  10                   ownership of [Ardent] has stated it needs payment of that
                       invoice in order to pay its employees and ensure their
  11                   continued performance. I also understand, your Honor, that
                       this need is fairly immediate. So the Department would ask
  12                   this week, of course in the forthcoming filing, but I want to
                       preview this to everybody and provide this general notice,
  13                   for some immediate relief to issue an order to make
                       payment on that invoice.
  14

  15    See Crt. Transcript dated March 19, 2019 at 17.
  16            Given that Paradis’ denial addresses only one subordinate clause of the allegation

  17    – that the order was entered “without objection from the City” – Paradis must admit the

  18    rest, especially because it is based on the State Court Order, attached to the Amended

  19    Complaint as Exhibit G. Paradis may not evade having to admit an allegation, or part

  20    thereof, by relying on a fact that purportedly is contrary to part of the allegation. For the

  21    foregoing reasons, paragraphs 32, 36-37, 39, 44-46, 60-61, 63, and 67-78 must be

  22    stricken and Paradis should be compelled to amend his Answer to provide proper denials

  23    or admissions, or the City’s allegations should be deemed admitted.

  24            B.     Paradis’ Alleged Affirmative Defenses Should be Stricken.

  25            Affirmative defenses are held to the heightened pleading standard set forth in

  26    Twombly and Iqbal. See Jacobson v. Persolve, LLC, No. 14-CV-00735-LHK, LEXIS

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   1    115601, WL 4090809, at *6-7, (N.D. Cal. Aug. 19, 2014). “A defendant’s pleading of

   2    affirmative defenses must put a plaintiff on notice of the underlying factual bases of the

   3    defense.” Id. (quoting Wyshak v. City of National Bank, 607 F.2d 824, 826 (9th Cir.

   4    1979). If a court determines that a pleading is deficient, it may strike the pleading. Id.

   5    An affirmative defense fails as a matter of law if it “lacks merit under any set of facts

   6    that the defendant might allege.” See Harris v. Chipotle Mexican Grill, Inc., 303 F.R.D.

   7    625, 628 (E.D. Cal. 2014).

   8            1.     Seven of Paradis’ Affirmative Defenses Fail as a Matter of Law

   9                   (a).    Claimants’ and its Agents’ Conduct (Defense No. 4)

  10            This is not an affirmative defense recognized under Federal Rule 8(c), and the

  11    City is not on notice of the legal or factual basis for this alleged defense.

  12                   (b).    Conduct Contrary to Public Policy (Defense No. 6)

  13            This is not an affirmative defense recognized Federal Rule 8(c), and the City is

  14    not on notice of the legal or factual basis for this alleged defense.

  15                   (c).    Failure to Join an Indispensable Party (Defense No. 7)

  16            “Failure to Join an Indispensable Party” is not an affirmative defense in this

  17    context. A person must be joined as a party in litigation if in that person’s absence, the

  18    Court cannot accord complete relief among the existing parties.                 Fed R. Civ. P.

  19    19(a)(1)(A). Given that Paradis is the only debtor in this bankruptcy proceeding and the

  20    City is pursuing a claim to have its debt against Paradis, and no one else, deemed non-

  21    dischargeable, this Court undoubtedly will be able to accord complete relief.

  22                   (d).    Acquiescence (Defense No. 9)

  23            Acquiescence is a defense relating to trademark disputes, not the non-discharge

  24    issues in this case. Specifically, “[t]he doctrine of acquiescence, closely related to

  25    laches, limits a party’s right to bring a trademark infringement lawsuit following an

  26    affirmative act implying consent to the other.” Godigital Media Grp., LLC v. Godigital,

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   1    Inc., No. LACV 17-07796-VAP (MRWx), 2019 U.S. Dist. LEXIS 76415, at *16 (C.D.

   2    Cal. Mar. 13, 2019) (emphasis added). This alleged affirmative defense therefore fails

   3    as a matter of law.

   4                   (e).    Unjust Enrichment (Defense No. 10)

   5            This is not an affirmative defense recognized under Federal Rule 8(c), and the

   6    City is not on notice of the legal or factual basis for this alleged defense.

   7                   (f).    Spoliation (Defense No. 11)

   8            Spoliation is not an affirmative defense, and this alleged affirmative defense fails

   9    a matter of law. See Tenet Healthsystem Desert, Inc. v. Fortis Ins. Co., Inc., 520 F.

  10    Supp. 2d 1184, 1198 (C.D. Cal. 2007) (a defendant need not plead spoliation as an

  11    affirmative defense because spoliation is not a defense, but rather is an evidentiary and

  12    discovery remedy); Vodusek v. Bayliner Marine Corp., 71 F.3d 148, 155-56 (4th Cir.

  13    1995) (reasoning that spoliation is “not an affirmative defense, but a rule of evidence”).

  14                   (g).    Failure to State a Claim (Defense No. 12)

  15            “Failure to State a Claim” is not an affirmative defense, and this alleged

  16    affirmative defense also fails a matter of law. See Edwards v. Cty. of Modoc, No. 2:14-

  17    cv-02646-MCE-KJN, 2015 U.S. Dist. LEXIS 94216, at *3-4 (E.D. Cal. July 17, 2015)

  18    (reasoning that asserting a plaintiff’s complaint fails to state a claim is not an affirmative

  19    defense, and striking such alleged affirmative defense) citing Zivkovic v. S. Cal. Edison

  20    Co., 302 F.3d 1080, 1088 (9th Cir. 2002) (“A defense which demonstrates that plaintiff

  21    has not met its burden of proof is not an affirmative defense.”).

  22            2.     Paradis’ Remaining Affirmative Defenses are Inapplicable

  23                   (a).       Fraud (Defense No. 1)

  24            Despite his lengthy recitation of purported facts, Paradis fails to articulate the

  25    alleged fraud that the City somehow committed against him related to his actions in

  26    obtaining the Aventador and Ardent Contracts. Of course, Paradis’ fraud allegation is

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   1    especially ironic because, in his criminal plea agreement, Paradis repeatedly admitted to

   2    defrauding the City related to the issues asserted against him in the Amended Complaint

   3    in this case. See Amended Complaint, Exhibit A at pp. 31-32, 67-70. “Elements of

   4    actual fraud consist of: (1) a misrepresentation, (2) its falsity, (3) its materiality, (4) the

   5    speaker’s knowledge of its falsity or ignorance of its truth, (5) his intent that it should be

   6    acted upon by a person and in a manner reasonably contemplated, (6) the hearer’s

   7    ignorance of its falsity, (7) his reliance on its truth, (8) his right to rely thereon, and (9)

   8    his consequent and proximate injury.” Kaufman Inv. Corp. v. Johnson, 623 F.2d 598,

   9    601 (9th Cir. 1980). In all averments of fraud, the circumstances constituting the alleged

  10    fraud must be stated with particularity. Annunziato v. Guthrie, No. CV 20-11592-

  11    RSWL-JPRx, 2021 U.S. Dist. LEXIS 207481, at *26 (C.D. Cal. Oct. 26, 2021). Courts

  12    analyzing affirmative defenses note that defenses fail where a party alleges “misconduct

  13    in the abstract, unrelated to the claim to which it is asserted as a defense.” Seller Agency

  14    Council, Inc. v. Kennedy Ctr. for Real Estate Educ., Inc., 621 F.3d 981, 986-87 (9th Cir.

  15    2010) (citations omitted) (analyzing defense of unclean hands).

  16            Paradis’ purported fraud defense is a textbook example of an affirmative defense

  17    that should be stricken. Without pointing to a single alleged fraudulent act by the City

  18    against Paradis related to the actual issues at hand in this litigation, Paradis spends 63

  19    pages of his Answer spouting wholly immaterial, impertinent, and scandalous

  20    conspiracy theories. Paradis’ consistent strategy has been to attempt to defend or justify

  21    his admitted fraud and outright criminal conduct (which corrupted nearly everyone

  22    Paradis came in contact with) by seeking to massively expand the scope of the parties’

  23    dispute with wild allegations against the City and its officials. Paradis’ alleged “facts”

  24    have nothing to do with, and would never have been an excuse for, the fraud that he

  25
  26

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   1    committed – nor has Paradis made an offer of proof to the contrary. 1

   2            Of course, as the Court has pointed out numerous times, this case is about

   3    Paradis’ fraudulent actions to obtain the Aventador Contract and later the Ardent

   4    Contract. See Exhibit A at pp. 4-6. And, as a consequence, the Court will decide

   5    whether Paradis’ debt to the City should be held non-dischargeable for those reasons.

   6    Again, this case is not about Paradis’ wild allegations about the City and City officials

   7    concerning conduct that supposedly occurred long before Paradis chose to violate the

   8    law. See id. Accordingly, Paradis’ 63-page tirade related to the City’s alleged IT issues,

   9    the settled Jones litigation, and myriad other immaterial and impertinent issues should

  10    be stricken in its entirety.

  11                   (b).    In Pari Delicto/Unclean Hands (Defense Nos. 2 and 3)

  12            Unclean hands and the doctrine of in pari delicto are substantially similar under

  13    applicable California law. See Jacobs v. Universal Dev. Corp., 53 Cal. App. 4th 692,

  14    699, 62 Cal. Rptr. 2d 446, 449 (1997). “The party seeking the application of the unclean

  15    hands doctrine generally bear the burden of proving each element.” Still v. Arakelyan

  16    (In re Still), 393 B.R. 896, 919 (Bankr. C.D. Cal. 2008). Unclean hands is a fact

  17    dependent affirmative defense requiring inequitable conduct by a plaintiff in connection

  18    with the matter in controversy and applies only where it would be inequitable to grant

  19    the plaintiff any relief. Id. “The court must consider both the degree of harm caused by

  20    the plaintiff’s misconduct and the extent of the plaintiff’s alleged damages.” Id. It is

  21    fundamental to operation of the doctrine of unclean hands that “the alleged misconduct

  22    by the [party] relate directly to the transaction concerning which the complaint is

  23

  24    1
               If such a “defense” were allowed, it would at least potentially encourage Paradis
        to attempt to conduct sweeping and irrelevant discovery (which this Court disallowed in
  25    the Ardent bankruptcy case), leading to significant discovery law and motion practice
        and ultimately serve Paradis’ goal of slowing down an inevitable ruling that his admitted
  26
        fraud against the City is non-dischargeable.
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   1    made.” Seller Agency Council, Inc. v. Kennedy Ctr. for Real Estate Educ., Inc., 621

   2    F.3d 981, 986-87 (9th Cir. 2010) (emphasis added). “Unclean hands does not constitute

   3    misconduct in the abstract, unrelated to the claim to which it is asserted as a defense.”

   4    Id. (quotation omitted).

   5            Like Paradis’ improperly pled fraud defense, Paradis’ alleged affirmative

   6    defenses of in pari delicto and unclean hands should be stricken. Paradis’ alleged

   7    “facts” simply do not comport with the inflexible requirement that alleged unclean hands

   8    have a direct connection to the actual transactions at issue: e.g., Paradis’ actions related

   9    to obtaining the subject contracts.

  10                   (c).    Equitable Estoppel/Ratification (Defense Nos. 5, 8)

  11            The City is not on notice of the bases for these alleged defenses. “Estoppel is

  12    applicable where the conduct of one side has induced the other to take such a position

  13    that it would be injured if the first should be permitted to repudiate its acts.”

  14    DRG/Beverly Hills, Ltd. v, Chopstix Dim Sum Café and Takeout, III, Ltd., 30 Cal. App.

  15    4th 54, 59, 35 Cal. Rptr. 2d 515 (1994) (quotations omitted).            Ratification as an

  16    affirmative defense involves rescission of an agreement and “that the rescinding party

  17    had notice of the grounds for rescission.” Bourbeau v. Cognitive Code Corp., 693 F.

  18    App’x 499, 502 (9th Cir. 2017) (quotation omitted). Paradis has not provided support

  19    for these alleged affirmative defenses, and they should not be permitted.

  20            WHEREFORE, the City respectfully requests that the Court enter an order:

  21                   i.      Striking Answer paragraph nos. 32, 36-37, 39, 44-46, 60-61, 63,

  22    and 67-78, and providing Paradis’ with a short time period to amend the Answer to fully

  23    and properly respond to the Amended Complaint, or the City’s allegations in such

  24    paragraphs should be deemed admitted;

  25                   ii.     Striking Paradis’ affirmative defenses in the Answer; and

  26                   iii.    For such other relief that the Court deems appropriate.

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   1            DATED: September 28, 2022.

   2                                             ALLEN BARNES & JONES, PLC

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  13                                             ANNAGUEY LLP

  14                                             /s/ Guy C. Nicholson (with permission)
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  15                                             2121 Avenue of the Stars, 30th Floor
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  16                                             Attorneys for the City of Los Angeles

  17

  18    E-FILED on September 28, 2022 with the
        U.S. Bankruptcy Court and copies served
  19    via ECF notice on all parties that have
        appeared in the case.
  20
        COPY e-mailed the same date to:
  21
        Edward K. Bernatavicius                       Alan A. Meda
  22    United States Trustee                         Burch & Cracchiolo PA
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  23    Phoenix, AZ 85003                             Phoenix, AZ 85004
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  24    U.S. Trustee                                  Attorneys for Defendant Paul Paradis

  25
  26    /s/ Melissa Morgan

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                  Exhibit A

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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF ARIZONA
        _______________________________________
        In re:                                  )
                                                )
        PAUL OLIVA PARADIS            CH: 7     )    2:20-BK-06724-PS
                                                )
        CITY OF LOS ANGELES vs PAUL OLIVA       )    ADV: 2-21-00171
        PARADIS                                 )
                                                )
        DEFENDANT'S MOTION TO DISMISS COMPLAINT )
        AND REQUEST FOR JUDICIAL NOTICE         )
        ______________________________________ )

                                             U.S. Bankruptcy Court
                                             230 N. First Avenue, Suite 101
                                             Phoenix, AZ 85003-1706

                                             June 30, 2022
                                             10:02 a.m.

                        BEFORE THE HONORABLE PAUL SALA, Judge

        APPEARANCES:

         For the City of Los Angeles:        Michael A. Jones
                                             ALLEN BARNES & JONES, PLC
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         For Paul Oliva Paradis:             Alan A. Meda
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        Proceedings recorded by electronic sound technician, Ruth
        Carmona; transcript produced by eScribers, LLC.


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     1              THE CLERK:     20-06724, Paul Paradis, Adversary

     2   21-0171, City of Los Angeles v. Paul Paradis.

     3              THE COURT:     Okay.   Appearances for the City of Los

     4   Angeles, please.

     5              MR. JONES:     Thank you, Your Honor.       Michael Jones,

     6   Allen Barnes & Jones, for the City of Los Angeles.            With us in

     7   the courtroom is Ryan Deutsch, our summer associate.              With us

     8   on the telephone line is Guy Nicholson, co-counsel.

     9              THE COURT:     Okay.   Thank you.

    10              And for Mr. Paradis.

    11              MR. MEDA:     Good morning, Your Honor.       Alan Meda with

    12   Burch & Cracchiolo on behalf of the Defendant, Mr. Paul

    13   Paradis.   It is my pleasure to introduce you to Mr. Paradis,

    14   who is here in the courtroom with me.

    15              THE COURT:     Okay.   Good morning, Mr. Paradis.

    16              MR. PARADIS:     Good morning, Your Honor.

    17              THE COURT:     Okay.   So we don't have anybody on Zoom.

    18   We set it up just in case anyone wanted it.          Let me close that

    19   out.

    20              This is the first time back in the court in some

    21   time, so give me a second to make sure I've got all the

    22   technology working the way we need it to work.           Sort of.     It's

    23   funny; the technology has improved so much that it's, in some

    24   respects, easier to do this from home or from a desk.             Okay.

    25              Okay.    So we are here on a couple matters:


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     1   Mr. Paradis's motion to dismiss the first amended complaint --

     2   the City's first amended complaint, and also Mr. Paradis'

     3   motion for the Court to take judicial notice.

     4               Couple things that are preliminary matter.            I've

     5   granted extensions of page limits and such in this case.              I'm

     6   not doing that anymore, so just be aware of that.            In the

     7   future, we'll keep it to the page limits, unless, long before

     8   the document is due, a request is made, and good cause is show.

     9   Not to say that what you've given me isn't great reading and

    10   great legal work.     It is, on both sides.       However, I think

    11   we -- we don't need quite as much as we've got.

    12               Let's deal with the judicial notice, and I'll listen

    13   with interest to any arguments, but here are my thoughts.                As

    14   Mr. Meda's aware from the pleadings. but wasn't at the hearing

    15   in the Ardent case, the way I look at judicial notice is

    16   judicial notice is that I can take notice of a nondisputable

    17   fact.    Yesterday was a Wednesday.      The sun came up at a certain

    18   time.     That kind of thing.

    19               I can also take judicial notice of items in the

    20   record.     I can note that there is a pleading that's been filed.

    21   I can even take note that there was a newspaper article that

    22   was published.     But I can't take judicial notice of what's in

    23   there.

    24               And in this case, what it seems to me is the 500-and-

    25   so pages that Mr. Paradis would like me to take judicial notice


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     1   of stands for the proposition he wants to introduce into the

     2   record 500-plus pages of documents, and we're not going to do

     3   that.   I think what the judicial notice was sought for is to

     4   establish that the City of Los Angeles Department of Water --

     5   LADWP -- I'm going to call it the City as we move on, just so

     6   everyone's clear -- that the City knew it had an IT problem

     7   that came to light later, or at least it came to the point

     8   where it had to be dealt with in the Jones lawsuit.

     9               I don't know that there is even a dispute about that

    10   issue, but I'm not taking judicial notice of 500-and-some-odd

    11   pages, and I don't think this case is about whether the City

    12   knew it had IT problems.       I think the case is about whether

    13   Mr. Paradis did something wrong in assisting Aventador -- and

    14   now called Ardent -- in getting those contracts.

    15               So like I said before, I can take judicial notice of

    16   items, the fact that this issue is out there.           But I think in

    17   the end, there's going to be factual determinations in this

    18   case.   I'm not making a ruling today that the City knew they

    19   had a problem.     I think it's pretty clear that that's where the

    20   facts are going to go.      But I'm just not going to take judicial

    21   notice of 500 pages of documents.        That's my preliminary

    22   thoughts.

    23               So I'll listen with interest, Mr. Meda, if you want

    24   to add to the motion or the argument.

    25               MR. MEDA:    Thank you, Your Honor.      Alan Meda on


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     1   behalf of Mr. Paradis.

     2              I don't really have much more to add.          It was never

     3   our intent for the Court to take judicial notice of all the

     4   underlying data that was cited to.         The point of the request

     5   for judicial notice was to highlight the fact that the City has

     6   acknowledged, admitted, not only the need for the cyber

     7   security IT-related services, but the exigent circumstances

     8   that existed and have been acknowledged by the City relative to

     9   those needed services.      And that is what the Aventador contract

    10   was really all about.

    11              And so from our perspective, that acknowledgement is

    12   significant.    It's significant because it really goes to either

    13   the materiality of the alleged misrepresentations and false

    14   pretenses or any damages that might have been incurred by the

    15   City relative to those representations and pretenses.

    16              THE COURT:     But when you cut down to what this case

    17   is about, isn't it the City saying Mr. Paradis had some special

    18   relationship -- he was a consultant, whatever he was -- and

    19   that in that position, and with the help of City employees, all

    20   of whom have been convicted of criminal activity, that what

    21   happened is the City ended up with a no-bid contract situation,

    22   where ostensibly it might have been better, it might have been

    23   more appropriate, for the City to bid that out.

    24              Whether that gets them to their claims, that's -- I

    25   don't understand their argument to be, we didn't need IT


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     1   services.      I understand their argument to be, we shouldn't have

     2   done it this way.       We shouldn't have been advised to do it this

     3   way.   We shouldn't have fall into the trap to do it this way.

     4   That's what I understand their argument to be.

     5               MR. MEDA:     I understand, but the point that I'm

     6   making is -- and we have a lot of issues with the alleged

     7   represent --

     8               THE COURT:     Well, you guys have a lot of issues on

     9   both sides, I agree.

    10               MR. MEDA:     Right.    Fair enough.    But the point is

    11   that the City was going to award this contract to someone.

    12   Whether it was Mr. Paradis or someone else, there was going to

    13   be a contract.      And that goes to the damage issue.

    14               THE COURT:     I don't disagree with you on that, but

    15   I'm not sure -- one, I need to take judicial notice of even the

    16   fact that you're seeking judicial notice for, which is the City

    17   knew it had IT problems.         We'll see what Mr. Jones has to say

    18   about that.      But even if I were to take judicial notice of

    19   that, I'm not going to do it in the context of here's 500-and-

    20   something pages, Judge, take notice of it.           That would create

    21   an appellate nightmare in this case, not to mention a trial

    22   nightmare.     I'm just not going to open the record up to that --

    23               MR. MEDA:     I --

    24               THE COURT:     -- level of scrutiny.

    25               MR. MEDA:     I understand.


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     1              THE COURT:     Okay.

     2              MR. MEDA:     As I said, I think the important point

     3   with regard to that was the -- what we consider to be the

     4   City's admissions that there was not only a need for the

     5   services, but there were exigent services surrounding that

     6   need.

     7              THE COURT:     Okay.    Mr. --

     8              MR. MEDA:     Which, by the way, has been acknowledged

     9   by the City going all the way back to, like, 2006.            So it's not

    10   like this was a new circumstance.

    11              THE COURT:     Right.   I understand.

    12              MR. MEDA:     Thank you.

    13              THE COURT:     So Mr. Jones, if we can cut through

    14   this -- and maybe we can't -- can the City acknowledge that

    15   they knew prior to the Aventador contract that they needed IT

    16   services for this cyber security -- I don't know if it's a

    17   database, app, program, whatever it is -- and that there was an

    18   exigent circumstance, probably from the Jones litigation, that

    19   you got to dealt with?

    20              MR. JONES:     Here is what I'll say about that.         It's

    21   not an issue for today, and the reason why I say that, we're

    22   going to almost certainly litigate that issue, specifically the

    23   conditions by which this contract came to be and the need for

    24   it came to be, which were precipitated by Mr. Paradis' work

    25   with Mr. Wright, for which there are now federal crimes that


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     1   have been pled guilty to.

     2              THE COURT:     But that gets more to the exigent

     3   circumstance aspect of what Mr. Meda was asking, not so much

     4   that the City needed to do something with its software.             I'm a

     5   layman here, but --

     6              MR. JONES:     Sure.    Did the City need to conduct

     7   updates to software and things like that?          Likely, yes.     Did it

     8   need to award a $30-million no-bid contract --

     9              THE COURT:     Oh, I --

    10              MR. JONES:     -- on an emergency basis?       Absolutely

    11   not.

    12              THE COURT:     I get it.

    13              MR. JONES:     Yeah.

    14              THE COURT:     I understand --

    15              MR. JONES:     Yeah.

    16              THE COURT:     I understand the latter to be your beef

    17   here.   This --

    18              MR. JONES:      Understood.

    19              THE COURT:     This isn't what we needed to do.         This

    20   isn't --

    21              MR. JONES:     Right.

    22              THE COURT:     -- how we needed to do it.

    23              MR. JONES:     Right.

    24              THE COURT:     We were misled.     We were defrauded.         I

    25   get all that.     But I guess -- and I'm not sure it's necessary,


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     1   other than because of the way I suspect this litigation will

     2   go, that narrowing things would be helpful.          So what you're

     3   telling me --

     4              MR. JONES:     Yeah.

     5              THE COURT:     -- is the City won't take the -- oh.           Is

     6   that Mr. Nicholson?

     7              MR. NICHOLSON:      Yes.   Good morning, Your Honor.

     8              THE COURT:     Good morning.

     9              MR. NICHOLSON:      I'm just listening.

    10              THE COURT:     Did you have something to add, or did we

    11   just catch a blip?

    12              MR. NICHOLSON:      No, you just (audio interference).

    13              THE COURT:     I think you're getting a lot of feedback,

    14   Mr. Nicholson.     I don't know if you've got both the Zoom feed

    15   on for video and phone for feed, but we're getting a lot of

    16   feedback from you.

    17              MR. NICHOLSON:      Oh, well.    Maybe that's (audio

    18   interference).

    19              THE COURT:     Didn't catch any of that.       Why don't we

    20   let Mr. Jones continue?

    21              MR. JONES:     I guess where I'll leave it with regard

    22   to the IT issues is, to the extent we're trying to narrow

    23   issues as we had passed the motion to dismiss stage and into

    24   the actual Aventador issues, we'll work in good faith on that.

    25   I'll work with the client.        I'll see to the extent something


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     1   like that could be narrowed.       Of course, we'll try to do that.

     2              For today's purpose, I think Your Honor's hit on the

     3   exact issue.    Judicial notice is inappropriate.         We agree for

     4   the reasons that you stated, and we're glad to hear that that

     5   motion will not be granted and that we're going to actually,

     6   for today, argue just the motion to dismiss issues, rather than

     7   trying to conduct a mini trial.        So --

     8              THE COURT:     Okay.

     9              MR. JONES:     Thank you.

    10              THE COURT:     So let me give the parties my ruling on

    11   the motion for judicial notice.

    12              Mr. Paradis has filed a motion for judicial notice,

    13   which contained exhibits of over 500 pages, for the proposition

    14   that the Court could take judicial notice of, one, the City's

    15   need for IT infrastructure improvements; and two, for the

    16   proposition that exigent circumstances existed.

    17              As I indicated, judicial notice is appropriate for

    18   nondisputable facts.      The sun came up at 5 or 5:15 a.m.          A

    19   document was filed at docket number 63.          It's not to be used to

    20   establish the actual facts in a case.

    21              I hear from the City that I don't think, generally,

    22   they're going to dispute that there were IT issues.               But as

    23   cautious lawyers, the City is concerned that some type of an

    24   admission here or a notice here would improperly tie the City's

    25   hands in the litigation.       I don't know what the City knew or


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     1   didn't know.    It's pretty clear to me, it seems, that the City

     2   knew they had some computer issues.         That's what the Jones

     3   lawsuit, I think, was about at some level.          But I don't think

     4   it's appropriate here to make findings on a judicial notice

     5   basis that may be burdensome to the parties.

     6              What the City knew, particularly when it knew it, how

     7   it knew it, how it fits into the materiality of what's been

     8   alleged here, where I think the gravamen of the complaint is

     9   really getting to Mr. Paradis's involvement in the granting of

    10   the $30-million Aventador contract, I don't think it's

    11   appropriate to just take judicial notice of these things.

    12              So I'm going to deny the motion, but I hope the

    13   parties understand that I have a pretty good sense -- although

    14   I may not understand IT world, I have a pretty good sense of

    15   what went on and what we're fighting about.          And I'm just going

    16   to ask the parties to keep that in mind as we move forward in

    17   terms of stipulated facts and so that we're fighting the issues

    18   that need to be fought and not the issues that don't need to be

    19   fought.

    20              So for those reasons, I'm going to deny the request

    21   for judicial notice, and we'll deal with the issues of what the

    22   City knew and when in a proper factual context if we ever get

    23   there.

    24              So now let's move to the motion to dismiss, Mr. Meda.

    25   There is a whole lot in there, so I'll give you some of my


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     1   preliminary thoughts and just to make sure I kind of understand

     2   all that you're seeking.       It seemed to me that Mr. Paradis is

     3   seeking to dismiss the complaint under Section 523(a)(2) for a

     4   couple of grounds.

     5              One is the assertion that there is no alleged

     6   material missed representation regarding the facts that gave

     7   rise to the Aventador contract.        And by that, I am making a

     8   distinction between the initial $30-million contract and the

     9   subsequent -- I'm not quite sure what the number was -- 6- to

    10   $12-million Ardent contract.       And I know there may be a dispute

    11   whether it's the same company or not.         We'll deal with that on

    12   another day.

    13              But as I looked at your motion, it looked like, on

    14   the one hand, you're saying as to the Aventador contract, there

    15   is no allegation of a misrepresentation, ergo 523(a)(2)(A)

    16   claims can't stand.

    17              Secondly, you're saying, as to the facts and

    18   circumstances arising relating to the Ardent contract, that the

    19   523(a)(2)(A) claim fails because Mr. Paradis was working with

    20   the FBI at the time.      And then more globally, even if I were to

    21   find there was a representation in either of those two

    22   instances, that it's not material and that it is -- and it

    23   wasn't reasonably relied on, even if there were a statement.

    24              That's what I understand your argument on (a)(2)(A).

    25              On (a)(4), I understand your argument to be there's


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     1   been -- the Ninth Circuit law requires the determination that

     2   there is an express or technical trust.          And no matter what the

     3   relationship is, without an allegation of an express or

     4   technical trust, an (a)(4) claim for fraud or defalcation in a

     5   fiduciary capacity fails.

     6               And your (a)(6) claim, as I understand it, is that

     7   they have not properly alleged a willful conduct on behalf of

     8   Mr. Paradis; willful being defined in the case law as an actual

     9   intent to injure the City or an action that was intended that

    10   had a substantially foreseeable injury to someone, and it just

    11   happened to be the City.       That's how I understand that

    12   argument.

    13               I then understand that you'd like the complaint

    14   dismissed, essentially, as a spoilation sanction.

    15               And I think that's what I had out of your motion.

    16               Was there anything else in there that you thought we

    17   were fighting about?

    18               MR. MEDA:    I think you've covered the bases, and I'm

    19   happy to address those --

    20               THE COURT:    Okay.

    21               MR. MEDA:    -- when the Court's ready.

    22               THE COURT:    I just wanted to make sure I had

    23   everything in order.      Okay.   I'll listen with interested,

    24   Mr. Meda, but rest assured, I have read everything,

    25   Ms. Hendricks (phonetic) has read everything, and we've spent


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     1   hours going through it.       So I'm very well familiar with it.

     2                MR. MEDA:    Well, thank you for your time and for

     3   reviewing everything.       I know there's been a lot of pleadings

     4   filed.    Very --

     5                THE COURT:    The binders were, like, that thick, and

     6   there were two of them.

     7                MR. MEDA:    I understand, and it certainly required a

     8   lot of reading and patience.       And I wish we could have

     9   condensed it a little bit for the benefit of the Court, but we

    10   did want you to have the benefit of what we thought was

    11   pertinent.

    12                As the Court is well aware, we're dealing with an

    13   adversary complaint dealing with an attempt by the City to

    14   object to Mr. Paradis' discharge under 523(a)(2), (a)(4), and

    15   (a)(6).   The basis for the claim of objection to discharge, as

    16   the Court noted, really relates to the award of two contracts,

    17   two separate and distinct contracts.         The first contract was

    18   awarded to Aventador, and the second contract is really

    19   unrelated to the first contract, which it was awarded to

    20   Ardent.   Right?

    21                So I could be a little bit off on the numbers.          It

    22   doesn't really matter.       But my understanding is the first

    23   contract, Aventador, was about 28 million -- a little over 28

    24   million, and the second contract, the Ardent contract, was

    25   about a million-and-a-half, maybe up to $2 million, somewhere


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     1   in that range.

     2              THE COURT:     Okay.

     3              MR. MEDA:     And I think that's how we get to $30

     4   million.

     5              THE COURT:     Okay.

     6              MR. MEDA:     So as the Court is aware, the allegations

     7   essentially underlying all this is that these contracts were

     8   secured based on fraud, false representations, false pretenses.

     9   In any event, the City is alleging that Mr. Paradis made up

    10   either statements or circumstances that encouraged the City to

    11   enter into this contract with him -- contracts, plural, with

    12   him.

    13              Now, we initially filed a motion to dismiss

    14   previously in December.

    15              THE COURT:     Which you indicated I granted in your

    16   motion, but I went back.         I don't believe I granted it.      I

    17   think I said, go amend.

    18              MR. MEDA:     Okay.    And --

    19              THE COURT:     So the record's clear, there was never a

    20   granting of the motion that would have resulted --

    21              MR. MEDA:     Right.

    22              THE COURT:     -- in a dismissal.

    23              MR. MEDA:     I believe the City made reference to that

    24   as well.   I apologize, but --

    25              THE COURT:     That's okay.


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     1              MR. MEDA:     -- I appreciate the correction.

     2              THE COURT:     Just wanted it --

     3              MR. MEDA:     Yes.

     4              THE COURT:     Just wanted it clarified.

     5              MR. MEDA:     But in briefing, and at oral argument in

     6   February, we suggested that dismissal was appropriate because

     7   the City had failed to allege with specificity any

     8   misrepresentations or false pretenses.         The City has now

     9   amended the complaint.      And our position, as evident from the

    10   second motion to dismiss, is that the amended complaint, like

    11   the initial complaint, fails to again allege the specific

    12   representations and pretenses which were allegedly false when

    13   they were made.

    14              Now, we feel that this is particularly significant

    15   concerning the fact that this is essentially a complaint for

    16   fraud that has a heightened specificity requirement, right.

    17   And also, the fact that this is the second attempt that the

    18   City has had to plead these allegations.

    19              Now, the closest that the City gets to alleging or

    20   creating a pretense or alleging a pretense or a

    21   misrepresentation is the suggestion that Mr. Paradis falsely

    22   created exigent circumstances.        And as we talked about, oh, a

    23   minute ago, the problem here is that there were exigent

    24   circumstances with the City's cyber security systems.

    25              THE COURT:     But isn't that a factual issue --


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     1              MR. MEDA:     Well, here's the thing, though --

     2              THE COURT:     -- the level of exigent circumstances?

     3   You say it's exigent.      They had to get this fixed.        The Jones

     4   lawsuit was out there.      The city had to move.       The City says

     5   yeah, we had to move, but we relied on Mr. Paradis and some

     6   other City employees, all of whom have admitted to criminal

     7   activity, and we gave up a no-bid contract.

     8              I don't know what that makes damages as to

     9   Mr. Paradis, but it seems to me that that's enough, at least to

    10   get beyond a motion to dismiss.

    11              MR. MEDA:     Well -- okay.     So two things I want to say

    12   about that.    And I appreciate the Court's input there.

    13              First of all, as I said before, for years, the City

    14   has admitted that it lacked the internal resources to provide

    15   adequate project management and IT services.           But perhaps more

    16   importantly, nowhere in the complaint, the amended complaint,

    17   or any of the pleadings -- admittedly, voluminous pleadings --

    18   does the City deny that there were exigent circumstances.                The

    19   City has never denied that, and I think that's significant

    20   here.

    21              We have expressed our view of the world, right?               We

    22   have pleaded to this Court that there were exigent

    23   circumstances.     And I get the fact that at some point the Court

    24   could look at that as some kind of fact determination.             But

    25   before you get to a fact determination, the City has to deny


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     1   that the circumstances existed.

     2               THE COURT:     Well, let me ask you this, Mr. Meda.

     3   Let's say, today, I found the City had exigent circumstances to

     4   get in a consultant to fix their project management and IT

     5   services.      Let's say I found that.      Is that game, set, match?

     6   There's no potential cause of action here?

     7               MR. MEDA:     Well, here is the problem.       Of course,

     8   maybe there could be under some scenario a cause of action, but

     9   the problem, as we have stated over and over again, is that the

    10   City has not properly pled its cause of action.            It has not

    11   pled to this Court what is the underlying misrepresentations.

    12   What is the underlying false pretenses?           I mean, we're shooting

    13   in the dark here.

    14               They haven't provided us with anything.           And as I

    15   said before, I think that's particularly important in the

    16   context of a fraud action that forms the basis of an objection

    17   to discharge.      We have the right to know what the allegations

    18   are, the underlying factual allegations that supposedly support

    19   this fraud claim.       And we don't have that here.

    20               And the City was advised of that previously, and the

    21   City was given an opportunity to amend its complaint.              And the

    22   City told you, Judge, that the reason the first complaint

    23   didn't have all that in it was because of the government's

    24   investigation, and it was handcuffed, and it couldn't properly

    25   plead matters.      And now the handcuffs came off, and the City


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     1   filed an amended complaint.         And we still have the same

     2   deficiencies.

     3              THE COURT:     Well, what about the citation to the plea

     4   agreement where Mr. Paradis agreed that he had defrauded the

     5   City?   Why isn't that, in and of itself, enough?

     6              MR. MEDA:     Because the plea agreement is essentially

     7   conclusory.    Now, conclusory statements, without any really

     8   underlying factual determinations that would support an

     9   objection to discharge, that's really the problem.

    10              THE COURT:     But do -- I understand the argument that

    11   it's conclusory, but your client made it.

    12              MR. MEDA:     No.     He --

    13              THE COURT:     So --

    14              MR. MEDA:     He did.

    15              THE COURT:     -- you're saying if I have a defendant

    16   who has admitted to fraudulent activity, the City saying, the

    17   defendant has admitted to fraudulent activity is not enough to

    18   stand for a fraud complaint at the motion to dismiss phase?

    19              MR. MEDA:     It's -- well, first of all, we don't feel

    20   it's enough, because the plea does not contain what we view as

    21   sufficient bases to justify a objection to discharge judgment.

    22              THE COURT:     Okay.

    23              MR. MEDA:     Okay.     So the fact that there were

    24   conclusory admissions made doesn't meet the standard necessary,

    25   in our opinion, to rule that Mr. Paradis' discharge should be


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     1   denied.

     2                We also would assert to the Court that, certainly,

     3   the standards for a plea in criminal court are much different

     4   than the standards of evidence for a nondischargeability

     5   proceeding.

     6                THE COURT:    You think the criminal plea standard is a

     7   lesser standard than the Bankruptcy 523 standard?

     8                MR. MEDA:    Well, maybe I'm not saying it the right

     9   way.    Maybe it's not a standard issue.       Maybe it's simply a

    10   level of evidence issue.       And the problem here is that we don't

    11   have any assertions -- there is no factual allegations made by

    12   the City, specifically, to support objection to discharge under

    13   523(a)(2).     There's no -- and by the way, the plea bargain --

    14   remember, I want to -- let me go back a minute, because it's

    15   important to understand that Mr. Paradis admitted to bribery,

    16   okay.     That's what the plea bargain is all about, right?          It's

    17   not -- the admission of liability does not relate to fraud.              It

    18   does not relate to, really, any of the allegations in the

    19   complaint.     What it relates to is that there is an admission

    20   and a plea that Mr. Paradis committed bribery.           And --

    21                THE COURT:    And injured the City.

    22                MR. MEDA:    Well, I don't know about the injury, but

    23   he clearly admitted that there was bribery.

    24                THE COURT:    Okay.

    25                MR. MEDA:    And injury is actually an important issue,


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     1   as we've talked about --

     2              THE COURT:     I agree.

     3              MR. MEDA:     -- previously, right?

     4              THE COURT:     And I agree with you.

     5              MR. MEDA: Yeah.       And I would just, I guess, emphasize

     6   that the plea agreement certainly does not establish any

     7   particular injury to the City, nor does it really, in my

     8   opinion, evidence any particular intent to harm the City.                I

     9   know that you mentioned that just a minute ago.           But the fact

    10   of the matter --

    11              THE COURT:     It was just bribing to bribe for --

    12              MR. MEDA:     Well --

    13              THE COURT:     -- fun's sake?      What?

    14              MR. MEDA:     Clearly, there was a self-interest

    15   involved in the contract.        I understand that.     But as I said

    16   before, a contract was going to be entered into, no matter

    17   what.

    18              THE COURT:     Right.     And that get to damages.

    19              MR. MEDA:     Whether it was Mr. Paradis or somebody

    20   else --

    21              THE COURT:     Right.     IBM --

    22              MR. MEDA:     -- right?

    23              THE COURT:     -- might do the job.

    24              MR. MEDA:     So --

    25              THE COURT:     I understand that distinction.          I'm


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     1   having a hard time, Mr. Meda, with the idea, particularly post-

     2   Husky, that on an (a)(2)(A) claim, where the Defendant has

     3   admitted to criminal liability in connection with the very

     4   contract we're talking about, that they haven't put you on fair

     5   notice of a fraud claim.

     6              It may not be a misrepresentation.          I don't know.        It

     7   may be an omission.      It may just be fraud.      And Husky says

     8   that's enough.     So I'm having a hard time seeing how I do what

     9   you want and blow out an (a)(2)(A) claim given what the Supreme

    10   Court says in Husky.

    11              It doesn't narrow fraud to a misrepresentation --

    12   that sidesteps all the prior Ninth Circuit law that seemed to

    13   require that -- and allegations here that Mr. Paradis, by

    14   virtue of his pela agreement, has defrauded the City.

    15              I have a hard time, given those allegations, of

    16   saying that cause of action or (a)(2)(A) goes away.               It doesn't

    17   mean it's conclusive.      It doesn't mean they've established

    18   damages.   And there may be defenses, like you're talking about

    19   here, down the road.      I'm not foreclosing any of those.          I'm

    20   not saying, just because he did this, he's going to -- he's

    21   going to have an (a)(2)(A) judgment against him.           But I think

    22   it's enough to have alleged fraud, as I read Husky, to survive

    23   a motion to dismiss a 523(a)(2)(A) defense.

    24              MR. MEDA:     So I've struggled with this myself.          But

    25   at the end of the day, I go back to the bases for objection to


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     1   discharge.     And regardless of the plea bargain, it's still the

     2   City's obligation to plead and establish, in some manner, the

     3   underlying bases for the alleged fraud.          Even in a res judicata

     4   perspective, the City still has to establish findings of the

     5   underlying bases.     And my point is that the City hasn't alleged

     6   the underlying bases for the objection under 523(a)(2).

     7              And again, remember, this isn't our first go-around,

     8   right.   The City has had its opportunity to amend the

     9   complaint, and it continues to not only not provide us with any

    10   factual bases, but it -- for the fraud, but it actually hasn't

    11   provided us with any factual detail about its so-called

    12   justifiable reliance and, perhaps more importantly, its actual

    13   damages.

    14              All it says -- in a conclusory way, it says, we

    15   entered into a contract, $30 million, that's our damage.             I

    16   don't think that's enough, not under a fraud complaint.             And

    17   again, remember, these deficiencies, I think, are significant,

    18   considering that the City has already had its opportunity to

    19   amend.

    20              Now, we talked about the fact that there were two

    21   contracts, right?     So let's talk about Aventador contract for a

    22   minute, right.     So the Aventador contract was basically a

    23   remediation of the City's billing system.          And this contract

    24   really related to and was necessary to implement the Jones

    25   settlement that the Court has heard all about.           And that -- the


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     1   remediation was actually necessary, not only to implement the

     2   settlement but, importantly, to comply with the Court-ordered

     3   deadline.

     4               And that gets to the exigent circumstances, right?

     5   That was a Court-ordered deadline.         Now, we believe that the

     6   Department of Justice has now uncovered evidence that --

     7   including, by the way, admissions from the City officials

     8   themselves -- but evidence confirming that this whole Jones

     9   settlement was all part of a collusive litigation scheme really

    10   initiated by the City attorney's office.          And what you're going

    11   to find out is that's what this was all about.

    12               This is not about Mr. Paradis.        This is not about

    13   what Mr. Paradis did or didn't do or what he represented or

    14   didn't represent.     What you are going to find out is this was

    15   all about the City trying to cover itself with regard to this

    16   collusive litigation scheme.       And maybe that's not important

    17   today, but that's what we're going to eventually get to the

    18   bottom of.

    19               And remember what I mentioned before.         This whole

    20   collusive litigation scheme, this was the scheme that was

    21   discussed at that December 2017 meeting with the City attorney,

    22   Mr. Feurer.    That was a meeting that Mr. Feurer initially

    23   denied.     There was no meeting, or I can't remember any such

    24   meeting.     And --

    25               THE COURT:    But Mr. Feurer's not a debtor in


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     1   bankruptcy in this court.       So I understand, long view, one of

     2   your affirmative defenses here is that it was somebody else's

     3   fault.   It's somebody else's problem, not Mr. Paradis'.            That's

     4   not for today at a motion to dismiss.

     5              MR. MEDA:     I understand.     I just think that --

     6              THE COURT:     There has been too much educating the

     7   Court and educating the court of public opinion in this case

     8   from both sides, which is why I thought it should be mediated.

     9   But I don't need to keep doing that.

    10              MR. MEDA:     Right.

    11              THE COURT:     So let's stick to this motion.

    12              MR. MEDA:     Well, I think what -- I just wanted to

    13   highlight that --

    14              THE COURT:     Consider it highlighted.

    15              MR. MEDA:     Right.   I think what's important here is

    16   that this contract was not awarded based on any representation,

    17   based on any pretense created by Mr. Paradis, but it was

    18   awarded, ostensibly, based on the City's need and urgency --

    19              THE COURT:     And if I don't --

    20              MR. MEDA:     -- for the cyber-security-related --

    21              THE COURT:     And if I don't dismiss the case --

    22              MR. MEDA:     -- services.

    23              THE COURT:     -- you'll have every opportunity to

    24   present that defense.

    25              MR. MEDA:     So let's talk about the Ardent contract


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     1   for a minute.      So the Ardent contract wasn't identified in the

     2   first complaint.     This came up in the amended complaint.          And

     3   this is particularly troubling because the City knows that

     4   Mr. Paradis has been an informant for the government for who

     5   knows how long.      But --

     6               THE COURT:     Okay.   I'm going to stop you there.          The

     7   whole informant-for-the-government issue, that is a factual

     8   issue.     I am not going to rule on that at a motion to dismiss.

     9   You may be right.       Maybe there's a law that if you're an

    10   informant, you get a free pass on fraud.          I don't know.     But

    11   all I have are your statements and a few lines from plea

    12   agreements that Mr. Paradis was working with the FBI.             That is

    13   not enough for me to rule on that issue at a motion-to-dismiss

    14   phase.     So --

    15               MR. MEDA:    Fair enough.

    16               THE COURT:     -- maybe I've played my hand on that one,

    17   but that's not going to prevail today.

    18               MR. MEDA:    Right.    Okay.   But I would just say that,

    19   certainly, the City's never denied that.          So I don't think

    20   there is truly a disputed issue of fact.          I think the record is

    21   clear --

    22               THE COURT:    And when you bring a summary judgment

    23   motion, we'll know if there is --

    24               MR. MEDA:    Right.

    25               THE COURT:     -- a disputed issue of fact.


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     1              MR. MEDA:     And I also want to emphasize the Ardent

     2   contract, not only are the allegations relative to that

     3   contract all during the time frame in which Mr. Paradis was

     4   acting as an informant, but that contract is completely

     5   unrelated to the first contract.

     6              THE COURT:     But didn't they allege that, as to the

     7   Ardent contract, Mr. Paradis had attested to the City that he

     8   was not an owner of Aventador or Ardent and would never be?

     9              MR. MEDA:     Well --

    10              THE COURT:     They've alleged it.

    11              MR. MEDA:     They've alleged it.

    12              THE COURT:     You may say --

    13              MR. MEDA:     Right.    Right.

    14              THE COURT:     -- that's just crazy, Judge.        That's not

    15   what happened.

    16              MR. MEDA:     Yeah.    Right.    Well --

    17              THE COURT:     But that's what they alleged.

    18              MR. MEDA:     -- we'll -- right.      We're going to --

    19              THE COURT:     And you've even highlighted at a

    20   different argument that they may not even be the same entity.

    21   And I get that.

    22              MR. MEDA:     Judge --

    23              THE COURT:     But the allegation is that Mr. Paradis

    24   attested to the City -- and I think it was in a document --

    25   that he did not own and would not own Ardent --


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     1               MR. MEDA:     Right.

     2               THE COURT:     -- or Aventador.     So at a motion to

     3   dismiss, where I have to accept what they've said as truthful,

     4   I think, on that, they've got a clear representation.              So I

     5   don't see how you get over the hurdle there.

     6               MR. MEDA:     So -- you're right.      I do think it's

     7   crazy.   I think that the City is making that claim in bad

     8   faith.   One day, I hope to be able to remind the Court of this

     9   conversation, because, frankly, I am just appalled at the

    10   liberties that the City is taking with its pleadings in this

    11   particular case.      But I understand what the Court is saying.

    12               I think that there are a number of complications

    13   relative to that issue.       Not only does it have to do with what

    14   the City actually knew, but it also is going to relate to what

    15   I've discussed as this collusive litigation scheme initiated by

    16   the City's Attorney's Office.         And the Court mentioned this

    17   before in terms of spoilation of evidence and documents.

    18               And I realize that the Court's not going to take that

    19   up today, but I do want to reiterate that that's going to be an

    20   issue, and we're going to have to address it.            We're -- we know

    21   the documents existed.       And why the City claims that they no

    22   longer have these documents is beyond me, but perhaps we will

    23   find out.      But the City has unclean hands here, and that's

    24   really important to get across.

    25               THE COURT:     Well, I think, to a certain extent,


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     1   that's not hard to see when we've got City employees who have

     2   also pled guilty to fraud.

     3              MR. MEDA:     Right.

     4              THE COURT:     Now, whether that impacts the body

     5   politic, the City, from bringing an (a)(2), (a)(4), or (a)(6)

     6   claim, I don't know, but there is clearly a lot of blame for a

     7   lot of human beings here.         I just don't know how that plays out

     8   vis-a-vis the City versus any one of those individuals, because

     9   I assume, if the other individuals file bankruptcy somewhere,

    10   the City would file very similar complaints against them.

    11              MR. MEDA:     Right.

    12              THE COURT:     But that's a assumption long before I

    13   know how this is going to play out.

    14              MR. MEDA:     So --

    15              THE COURT:     (a)(4)?

    16              MR. MEDA:     Well, I'm going -- I'll get there real

    17   quick.

    18              THE COURT:     Okay.

    19              MR. MEDA:     I just want to point out that -- one more

    20   thing about the Ardent contract.        That contract was actually

    21   awarded pursuant to an RFP process.         So that's another

    22   distinction between that contract and the first one.

    23              THE COURT:     Um-hum.     I understand.

    24              MR. MEDA:     Now, I just want to mention a brief

    25   comment about damages.      And I understand what the Court has


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     1   already said about that issue.        But I do want to emphasize that

     2   services were actually provided by Mr. Paradis, right?             So I

     3   don't think there's any dispute about that.          Services were

     4   provided under both contracts.

     5              THE COURT:     I think I can cut through this pretty

     6   quickly for you.     Here is my understanding, since I am sitting

     7   as the judge in the Ardent case as well.          The City is relying

     8   on California Government Code 1090 for the proposition, vis-a-

     9   vis Ardent, that they can -- that they are entitled to their

    10   money back because of the bad act.

    11              I understand that as to Ardent.         I don't understand

    12   necessarily, as to Mr. Paradis, that that is the proper measure

    13   of damage in a nondischargeability context.          In a

    14   nondischargeability context, cutting through everything, you're

    15   basically dealing with bad actors or bad actions.            And one of

    16   the components is always damages.

    17              And while there may be a statutory entitlement to a

    18   refund vis-a-vis the customer, I'm not sure -- I'm not saying

    19   it isn't, but I'm not sure, as I sit here today and what I've

    20   ready so far, that that is the measure of damages here, because

    21   it does occur to me there may have been something done.             There

    22   may have been something that was wonderful done.            There may

    23   have been nothing done.      I don't know.     But that is how I'm

    24   looking at this from a damage perspective down the road.

    25              I may be absolutely wrong on that, but I don't think


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     1   damages are necessarily determined by California Government

     2   Code 1090 as to a nondischarge claim against a noncontracting

     3   party.

     4              MR. MEDA:     Right.

     5              THE COURT:     That help?

     6              MR. MEDA:     It does.    Thank you for that.      I mean, I

     7   think what's important is the fact that they haven't alleged --

     8   I mean, regardless of the California Code 1090, the City hasn't

     9   alleged that services weren't provided.          The City hasn't

    10   alleged that the services were not exemplenary (sic).             The City

    11   has not alleged that the services were defective or deficient

    12   in any way, right?      The City hasn't alleged that performance of

    13   the services caused any damage.        None of these things have been

    14   alleged.

    15              As it relates to California Civil Code 1090, as we

    16   mentioned before at another hearing, it's our position that

    17   that code section is not applicable.         Certainly, on its face,

    18   that statute only applies to City officials and their

    19   employees.     And so what the City wants to do here is apply it

    20   to Mr. Paradis as an independent contractor.

    21              Now, there is a case, the Sahlolbei case, which we've

    22   talked about, 396 P.3d 568 from 2017, that applies California

    23   Code 1090 to independent contractors.         But there's a test for

    24   that application, and the test is whether the independent

    25   contractor is entrusted with transacting on behalf of the


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     1   government.    There is no allegation here that Mr. Paradis was

     2   entrusted or acting with transactional authority for the

     3   government, and that's a critical basis to apply 1090 in the

     4   context of Mr. Paradis as an independent contractor.              Of

     5   course, Mr. Paradis --

     6              THE COURT:     Right.   As I'm --

     7              MR. MEDA:     -- wasn't the contractor, right?

     8              THE COURT:     As I'm sure you'll make clear in an

     9   appropriate motion for summary judgment and your closing

    10   argument, but it's not part of the motion to dismiss.              I

    11   understand the argument.

    12              MR. MEDA:     So I'm going to move on to 523(a)(4).              But

    13   before I do, I just want to leave the Court with this thought.

    14   In the 523(a)(2) cause of action, the City references certain

    15   sections of its complaint that supposedly evidence -- false

    16   representations or false pretenses.         And if you go through -- I

    17   won't take up your --

    18              THE COURT:     Or fraud.

    19              MR. MEDA:     -- time now.    Or fraud.     And if you go

    20   through these paragraphs, I'm confident you're going to find

    21   that, in fact, those cited-to paragraphs do not allege properly

    22   misrepresentations or false pretenses, other than, perhaps with

    23   one exception, the exigent circumstances issue.

    24              Now, let's talk about 523(a)(4) for a minute.               So

    25   essentially, what the City is alleging is defalcation while


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     1   acting in a fiduciary capacity.        So let's look at defalcation,

     2   right.   Defalcation is the misappropriation of funds by a

     3   person entrusted with their charge.         In order to have a cause

     4   of action under 523(a)(4), there has to be a trust.               There has

     5   to be a race, and that trust or race has to be misappropriated

     6   by a fiduciary.

     7              And the problem here, in the context of this

     8   adversary complaint, is there is no trust.          There's no race.

     9   There's no allegation of a trust or a race.          And importantly,

    10   there's no fiduciary relationship.

    11              Now, our own Judge Marlar has provided us with some

    12   guidance on this, right, the In re: Chavez case, at 430 B.R.

    13   890, bankruptcy decision from 2010.         And Judge Marlar stated

    14   that there must be a trustee relationship before the alleged

    15   wrongdoing in a strict or narrow sense.          There must be an

    16   actual trust relationship, not just a duty of loyalty.

    17              And that is significantly missing in this particular

    18   case.    There's no allegation of a trust.        There's no allegation

    19   that Mr. Paradis misappropriated funds that were being held in

    20   a trust.   And I think that that is -- really mandates dismissal

    21   of that particular cause of action.

    22              As it relates to 523(a)(6), I think the Court has

    23   already laid out the bases needed to obtain relief.               There has

    24   to be willful and malicious actions.         There has to be not only

    25   intent to do something, but there has to be an intent to cause


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     1   harm.   And I would submit to you, Judge, that from Mr. Paradis'

     2   standpoint, his motivation was to obtain the contract.

     3   Obtaining that contract doesn't create harm in and of itself,

     4   and there's been no allegation as to what this alleged harm is.

     5              And that's really the problem here.           Again,

     6   without -- in the context of a fraud complaint, without telling

     7   us what the underlying basis is, what the actual harm that was

     8   caused by the City, we really don't have a way of defending

     9   ourselves.     So we don't feel -- not only is there no harm, but

    10   there's no intent to cause harm sufficient to justify

    11   discharge --objection to discharge under 523(a)(6).

    12              Judge, I think that's all that I have.          Thank you for

    13   the leeway in extending my time.        I would be happy to answer

    14   any questions you might have.

    15              THE COURT:     I think I asked them all during the

    16   presentation.     So if anything else comes up, I'll find you.

    17              MR. MEDA:     Thank you.    We -- just -- we don't feel

    18   that the City has properly pled its 523 complaint.            It's had an

    19   opportunity to fix the deficiencies that existed, and those

    20   deficiencies remain.      We don't feel that further leave should

    21   be granted, and we'd ask the Court to dismiss the complaint.

    22              THE COURT:     Okay.

    23              MR. MEDA:     Thank you.

    24              THE COURT:     I understand.     Thank you.

    25              Mr. Jones.


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     1                MR. JONES:    Thank you, Your Honor.       I'm happy to

     2   begin with (a)(2)(A) or wherever you'd like.

     3                THE COURT:    Well, you can start with (a)(2)(A) and --

     4                MR. JONES:    Sure.

     5                THE COURT:    -- explain for me -- tell me what the

     6   theory is.

     7                MR. JONES:    Sure.

     8                THE COURT:    And to the extent it's a

     9   misrepresentation or an omission, tell me what that is and

    10   where I find it.

    11                MR. JONES:    Sure.   Well, let me start out this way.

    12   Your Honor is correct that, certainly, Husky International

    13   Envelope (sic) creates a broad standard, and we've met that

    14   standard.      Specifically, we pled (a)(2)(A) under three

    15   different theories:       false pretense as actual fraud and false

    16   representation -- let me just put it to you this way.              With

    17   regard to the overarching misrepresentations, there are at

    18   least three categories.

    19                First, Mr. Paradis worked with Mr. Wright covertly to

    20   draft an independent monitor report that was filed with the

    21   Court and was given to the LADWP board.           He drafted with

    22   Mr. Wright a letter to the board and prepared a presentation to

    23   the board, all with the secret motive to obtain the Aventador

    24   contract under a no-bid situation, to create -- and how do we

    25   know this?     He's admitted to it -- to create a situation where


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     1   the board believed that there was no alternative other than to

     2   award -- to go against their normal process for bidding out

     3   contracts and to subvert that process and award Aventador this

     4   $30-million contract without a bid.

     5               And this is against the City's best interest.            And

     6   Mr. Paradis has admitted all this, specifically.            His plea

     7   agreement, I mean, it gives breathtaking detail regarding this

     8   scheme here.     It is not conclusory.       We don't need to argue

     9   about that.     We can just read it.      The idea that we're shooting

    10   in the dark is just mind-blowing.         The plea agreement reads

    11   like a checklist for Section 523.

    12               And let me get back, because I want to answer your

    13   question.      So the second category, where we're asking for -- or

    14   we're asserting that there were misrepresentations, is the

    15   bribery of David Wright.        David Wright was the general manager

    16   to LADWP.      That's a position that's very high within that

    17   institution.      Mr. Paradis undertook an effort -- a very

    18   detailed effort, which is detailed in his plea agreement, to

    19   make it so that Mr. Wright wanted to act in the best interest

    20   of Aventador rather than the City.

    21               And they took part in a scheme to present to the

    22   board a situation where the board was left with, essentially,

    23   no choice, other than to award this Aventador contract.              And

    24   they didn't disclose that they were working together to create

    25   a situation that benefited them, financially.


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     1              How do we know that?       It's in Mr. Paradis' plea

     2   agreement.     He's admitted to it, and he's made it part of a

     3   court record with the Central District.

     4              The third category of misrepresentation is the 2019

     5   declaration to the City that Mr. Paradis' executed.               That

     6   declaration's attached to the amended complaint.           Your Honor,

     7   we can all look at it.      I don't think there's even any dispute

     8   that that's what it is.      I'm just hearing general outrage

     9   regarding the issue, which is confusing.

    10              That declaration says specifically that Mr. Paradis

    11   will have nothing to do with Aventador anymore.           Mr. Paradis

    12   shall not receive compensation.        He will not own it.        He will

    13   not participate.

    14              So what does he do?       Well, we can look at his

    15   bankruptcy schedule sworn under oath.         He retook ownership of

    16   Aventador.     He took draws from Aventador, then known as Ardent.

    17   Additionally, we can take a look at plea agreements signed by

    18   Mr. Wright, Mr. Alexander.       All this stuff's in the complaint.

    19   We don't have to guess.      We don't have to shoot in the dark.

    20   He's admitted to it, as have others.

    21              The declaration was violated almost immediately.

    22   Almost immediately, there are sworn records that -- and it's in

    23   our complaint, so they don't have to guess -- that Mr. Paradis

    24   continued to work for Ardent, continued to act as Ardent's

    25   owner, and continued to take action that financially benefitted


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     1   Ardent.   That's in direct violation of the declaration, which

     2   the City relied upon, to its detriment.          That's fraud.

     3              So we've pled at least three categories, and those

     4   are broad categories.      I mean, the bribery of Wright, it

     5   entails all kinds of different factual issues that could

     6   constitute misrepresentations and fraud.          But in any event,

     7   false pretense, certainly, here, designed to convey an

     8   impression without an oral representation.          A false impression.

     9   Absolutely.

    10              Actual fraud under Husky purposefully designed to be

    11   amorphous.     The Supreme Court tells us that.        The Supreme Court

    12   says -- we keep hearing, where is the specific

    13   misrepresentation?     I've already walked through them; however,

    14   that's not required.      The Supreme Court quoted -- well, we

    15   pulled a quote, put it on our complaint.          The Supreme Court

    16   said, "A false representation is not necessary for actual fraud

    17   under (a)(2)(A)".     So we keep having this strawman argument,

    18   and it doesn't make any sense, because the Supreme Court's

    19   already told us we don't need to actually have that.

    20              And then with regard to false representation, I've

    21   walked through the three categories, but silence may constitute

    22   materially false misrepresentation.         What was the silence here

    23   that created false representation?         Putting all this material

    24   to the board and not telling them that you participated in it.

    25   Not telling them that you had a financial interest in the $30-


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     1   milllion contract that they're going to award that subverts the

     2   normal process.     That's misrepresentation.

     3              THE COURT:     And why did Mr. Paradis have a duty to

     4   represent this to you at that time?

     5              MR. JONES:     Sure.   And that's under -- and we're

     6   going to litigate this probably through a motion for summary

     7   judgment, maybe on both sides, it sounds like -- but the

     8   California Government Code Section 1090.          It's absolutely

     9   applicable to him.      And that's an issue we'll litigate another

    10   day, as Your Honor pointed out.

    11              But it's applicable to private practice attorneys

    12   that work for the City.      That's exactly what he was.          It's

    13   applicable to independent contractors, and we'll walk through

    14   that he had powers that made it such that he is a City official

    15   as defined under Section 1090.        And under 1090, you're required

    16   to disclose things like this.        And if you don't do so, then the

    17   entire contract is automatically void.         The entire contract is

    18   automatically disgorged.

    19              And I get that we're going to -- we're going to fight

    20   over damages, but that's just a preview, because it's as plain

    21   as day under California law.       And that's where we're going with

    22   it.

    23              But in addition, Mr. Paradis prepared these materials

    24   and worked directly with Mr. Wright, so closely that they're

    25   exchanging emails and messages and having meetings to connive a


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     1   way to get this contract.          And then Mr. Wright presents it to

     2   the board as if this is on behalf of LADWP.          Mr. Paradis knew

     3   what was going on.        He admitted it.   We're not speculating

     4   here.   We're way beyond the pleading standard.

     5                So this stuff is stated in the complaint.            He has

     6   admitted it.     The idea that they can't figure out what the

     7   (a)(2)(A) claim is, is mind-blowing.          They can read the plea

     8   agreement that he signed, and that's stated right in the

     9   complaint here.

    10                I'm happy to discuss anything else on (a)(2)(A) or --

    11                THE COURT:    No.     Let's go to (a)(4).

    12                MR. JONES:    Okay.    With regard to (a)(4) --

    13                THE COURT:    Where is the trust?

    14                MR. JONES:    Yeah, let's talk about that.       So let's

    15   talk about a Ninth Circuit case, because we're hearing about

    16   cases from different levels and different jurisdictions, and

    17   they didn't like the case that we cited that -- two cases we

    18   cited, admittedly, from outside of the District of Arizona, a

    19   Ninth Circuit, that stand for the proposition that city

    20   officials, if they commit the acts (a)(4) is designed to

    21   prevent, they are held to the standard of a trust for a

    22   community.     And therefore, if they commit fraud or defalcation,

    23   (a)(4) applies.

    24                They didn't like those cases, but let's take a look

    25   at a Ninth Circuit case.         And it's one cited by them, so it's


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     1   in the record.     It's the Short case, which is a Ninth Circuit

     2   case.    It's 818 F.3d 693 (sic).

     3               In that case, the court looked to state law,

     4   including case law, to determine whether a fiduciary obligation

     5   existed.    They looked at Washington state law, and in that

     6   case, the defendant had a fiduciary duty under a joint venture.

     7   There was no express trust.       And the court went out of its way

     8   to say, look, typically, that's -- we need express trust, but

     9   there are other ways to have trusts.         They can be created by

    10   state law, and they specifically said -- case law.

    11               They cited all the case law that created this

    12   Washington State law that -- where if you're -- the debtor

    13   defendant in that case had a fiduciary duty under a joint

    14   venture.    And he had to act as a trustee for the joint

    15   venture's affairs.     That's what the Washington State law says.

    16               So where does that leave us, and how does that tie

    17   in?     We cited to California law, and it's applicable California

    18   law that imposes trust-like obligations on public officials.

    19   Public officials are required to account for the benefits and

    20   profits related to any void transactions.

    21               So what we're arguing here, Your Honor, is that these

    22   two contracts are void.      They were void pre-petition.         They are

    23   void under Section 1090.       And that's something we'll adjudicate

    24   in the Ardent case and in this case.         And as a result of that,

    25   under California law, Mr. Paradis had a trust-like obligation


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     1   under California law, and (a)(4) applies.

     2              So that's the premise for it.         It's supported by

     3   Ninth Circuit law.      They didn't like the out-of-circuit cases,

     4   which stand directly for the premise.         So we cited -- we can

     5   take a look at the case they cited to.         And the reason why we

     6   had to go out of circuit for those two case that are directly

     7   on point -- and have great analysis on the issue that's

     8   directly on point -- is because this isn't something that comes

     9   up all the time.     You don't typically find a situation where a

    10   public official does what happened here and then files

    11   bankruptcy, and then everyone litigates an (a)(4) issue to a

    12   completed opinion.

    13              So there's just not much on it.         We found the two

    14   cases that are directly on point.        They both go in our favor.

    15   And then if you look at the Ninth Circuit case law, it takes

    16   that same analysis.      It just hasn't -- it hasn't come to an

    17   opinion on that directly, because it just hasn't been broached

    18   yet.

    19              THE COURT:     What's the cite again on the Short case?

    20              MR. JONES:     Sure.   It's 818 -- 818 -- F.3d 693.           And

    21   it's in their brief.      And that analysis I went through is maybe

    22   a sentence or two below what they cited.          So --

    23              THE COURT:     That's not the cite.

    24              MR. JONES:     Oh, I apologize.

    25              THE COURT:     It's in their reply?


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     1              MR. JONES:     Let me find it.

     2              THE COURT:     818 693.

     3              MR. JONES:     It is in their reply --

     4              THE COURT:     Oh, F.2d.

     5              MR. JONES:     F.2d; my apologies.      Must have transposed

     6   that.    Yes, F.2d.   818 F.2d 693.

     7              THE COURT:     Okay.

     8              MR. JONES:     I'm happy to answer any questions or if

     9   Your Honor would like to review that case, whatever you'd like

    10   to do.

    11              THE COURT:     Well, I'll probably review it after the

    12   hearing.

    13              MR. JONES:     Okay.

    14              THE COURT:     So I'll tell you my initial reaction,

    15   Mr. Jones, was you cited to the Terry (phonetic) case, and I

    16   think the Terry case does stand for the proposition that people

    17   in the position that you allege Mr. Paradis is owe a

    18   fiduciary-type relationship.         Where I am having trouble on the

    19   (a)(4) case is the allegation of a trust, because -- and I

    20   think you agree with me -- there is no allegation in the

    21   complaint of a specific trust.

    22              So I'll take a look at the Short case.          But if I

    23   disagree with it, I think you're deficient on the (a)(4) claim.

    24   I think -- I've already played my hand here.           I think you've

    25   pled your case under (a)(6).         I think Husky makes that a broad


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     1   standard, and I think under a broad standard, the City has

     2   alleged, essentially, a conspiracy here to defraud the City.

     3              I have concerns on (a)(4) that, even if there's a

     4   fiduciary relationship, that that's not enough.           I will look at

     5   the Short case.     I looked at the out-of-state cases.             I don't

     6   feel bound by those, and I am reminded by Judge Marlar's

     7   admonition that -- in the Chavez case, that you need to --

     8   whether we agree with it or not, whether we agree that's what

     9   breach of fiduciary means, doesn't matter.          That's what the

    10   Ninth Circuit has said it means.

    11              So I'll look at the Short case, but I have some

    12   concerns there.

    13              MR. JONES:     Thank you, Your Honor.

    14              THE COURT:     Let's move on to (a)(6).       And I'll tell

    15   you, just to kind of cut through it -- and this is where it

    16   occurred to me that there is a damage issue in this case, and

    17   it gets to the allegations in (a)(6).

    18              I understand your allegations.         I understand you

    19   think that Mr. Paradis did a bunch of terrible things, that

    20   Mr. Paradis should be held liable for those things.               I know

    21   that in the Ardent case, the City wants Ardent to pay a big

    22   judgment or at least have a big claim against Ardent.

    23              Where I'm having trouble under (a)(6) -- because I

    24   think of (a)(6) typically as a guy's driving his car and runs

    25   you down -- I want to hit Mr. Jones -- or he's driving his car,


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     1   and he's driving on the sidewalk where there's an outside

     2   bistro.   Somebody's going to get hurt.        I get that.

     3              Here, the allegation is Mr. Paradis intended to

     4   defraud the City.     I get that.     I know that's your allegation.

     5   Where I'm having trouble with is that he intended to injure the

     6   City, specifically, as opposed to just make money some way; or

     7   two, that it was substantially certain that a damage would

     8   occur.

     9              And that's where I have a disconnect between your

    10   arguments, I think, under Government Code Section 1090, which

    11   is more of a remedy.      If this occurs, you get your money back,

    12   as opposed to (a)(6), where you have to show an intent to

    13   injure.   And that -- I think it's easy to see an intent to get

    14   the contract.    It's easy to see an intent to make money.           I

    15   don't necessarily see that it's easy to injure, and I didn't

    16   see even an allegation that you were injured.

    17              You want your money back under 1090.          I get it.       But

    18   are you injured, separate and apart from that, in that we paid

    19   $23 million out, and we should have only paid 2-?

    20              MR. JONES:     Sure.

    21              THE COURT:     That's where I'm having trouble with

    22   (a)(6).   And it kind of cemented in my mind where I'm trying to

    23   think, okay, even if he didn't intend to injure the City and

    24   the City's saying it's certain they would have been injured,

    25   where do I find that in the complaint?


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     1              MR. JONES:     Sure.   Your comments are well taken, and

     2   here's what I would say.

     3              THE COURT:     Lawyers always say that to judges.         They

     4   don't mean it when they leave.

     5              MR. JONES:     When we don't say it, I guess, you could

     6   imply that inference.      No.

     7              So here's where we come out on that.          So the standard

     8   of course is not what we hear in the briefing here from the

     9   other side.     It's that there was an -- knew that the injury was

    10   substantially likely to occur.        That seems to be the dispute.

    11              Here, what I would say is, one, we're very early in

    12   the pleading stage, so it's impossible for me to stand here and

    13   say, Judge, if this had just gone through the normal bidding

    14   process with the Aventador contract, I can tell you that they

    15   would have saved $10 million.        That's something an expert

    16   witness would attest to or a City official would attest to, and

    17   you'd hear that testimony or you'd hear it in a --

    18              THE COURT:     You're not telling me somebody at the LA

    19   City Water Department hasn't sat back and said, we paid 23

    20   million for this, or wow, we got a bargain; let's go under this

    21   other theory?    I mean, I don't believe that.

    22              MR. JONES:     Yeah.

    23              THE COURT:     At some level, I think somebody is going

    24   to have to make a decision that this was a good deal or a bad

    25   deal, or we're just going to fight to get our money back


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     1   because the statute says we get it back.          But that's what I

     2   think's missing in this complaint.

     3              MR. JONES:     Yeah.    Fair enough.    I'll just say the

     4   facts here do lead to a conclusion that Mr. Paradis knew that

     5   an injury was substantially likely to occur.           So how do I know

     6   that?   When you take a look at the extreme detail that went

     7   into plotting against the City's best interest to ensure that

     8   the bribed City official, David Wright, would go to this

     9   meeting with materials that Mr. Paradis had prepared to act

    10   against the City's best interest to cause -- I mean, it seems a

    11   pretty obvious conclusion here.        We don't need an expert to

    12   tell us, if you don't have a bidding process, the contract's

    13   going to cost more.

    14              THE COURT:     Maybe.    Maybe he just didn't want to

    15   compete with IBM or SAP.

    16              MR. JONES:     And that's a factual issue, and that's

    17   something that should be fleshed out.         I don't think this claim

    18   should be killed off at the pleading stage because we don't

    19   have before you a completely fleshed-out amount with regard to

    20   what the injury is and how we arrived at that conclusion.                To

    21   subvert a process of competitive bidding is exactly what causes

    22   prices to go up.     I mean, that's obvious.

    23              So -- and Mr. Paradis admits in excruciating detail

    24   that he did this for himself, to financially benefit himself,

    25   to subvert that process, to avoid that there would be


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     1   competitive bidding so that the contract would be driven to

     2   him.   And what you'll find in discovery is that the rates were

     3   considerably higher under the contract that was proposed versus

     4   rates of other what would have been competitors and that City

     5   employees were shocked and appalled at the amount, the process,

     6   and that the rates were so considerably high.           And that was all

     7   jammed through this big scheme that he knew was substantially

     8   likely to cause injury to the city.

     9              THE COURT:     And I'm hearing that in the argument.

    10   I'm not sure that I see that in the complaint.

    11              MR. JONES:     Well, I suppose if you'd like us to amend

    12   with regard to that specific (a)(6) issue, we're happy to do

    13   that, to provide a little more color in that regard.              But in

    14   any event, I think we have met the pleading standard, which is

    15   this is not a fraud claim.       This is not a Rule 9 issue.        We

    16   don't have to plead with particularity.

    17              This is a very low standard.        And I think we've met

    18   it.    We put them on notice.     There's a viable claim here, and

    19   they have the ability to contest.        We can take discovery and

    20   present facts to you, which we'll be prepared to do very

    21   quickly on a motion for summary judgment.

    22              THE COURT:     So what you're telling me is, to (a)(6),

    23   the theory is Mr. Paradis, through is actions, made sure that

    24   Aventador was awarded a no-bid contract and that, on the one

    25   hand, while that may have rewarded Mr. Paradis and/or


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     1   Aventador, you're saying it was designed to intentionally

     2   injure the City or that the City, because it was a no-bid

     3   situation, was going to -- was substantially certain to have

     4   paid a higher price?

     5              MR. JONES:     I mean, we can take it even a further

     6   step back.     He bribed Mr. Wright, so it's not just he was

     7   working to obtain this contract.        He bribed a city official, a

     8   high ranking at the LADWP city official for his own benefit.

     9   And this is someone that was the City's attorney --

    10              THE COURT:     Right.   But his --

    11              MR. JONES:     -- okay.

    12              THE COURT:     -- benefit doesn't matter under (a)(6).

    13   It does under (a)(2).

    14              MR. JONES:     Right.   I understand.     And the reason I

    15   say that -- this is someone that was working for the City as an

    16   attorney, someone that is working for the City at a high level

    17   with the LADWP to remediate some of the billing issues under

    18   this -- we call it the POG management contract.

    19              So he knew injury was substantially likely to occur.

    20   We don't have to show that he intended to inflict injury.                 You

    21   have to show that he knew injury was substantially likely to

    22   occur.   This is someone that was the City's lawyer.              This is

    23   someone that worked inside with the LADWP.          He took someone

    24   that should have been giving objective advice to the City,

    25   should have been helping the City to save money, to make this


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     1   as cheap and economical and efficient as a contract as it could

     2   have been.     He bribed that person -- he's admitted to it -- and

     3   made it such that there was no competitive bidding process.

     4              How could you not know that injury is substantially

     5   likely to occur?     Of course, it is.      You just took away the

     6   process to allow this contract to be competitive and efficient

     7   and made it something that's designed just for you, something

     8   that's designed to have, here's the number I want.            Here's what

     9   it's going to be.      Let's make it that way.

    10              That's absolutely going to injure the city, and he

    11   knew.    And we've at least pled that, which gets us to the next

    12   round.   That's where we come out on it.

    13              THE COURT:     Okay.   And let's see.     I don't think --

    14   no, I don't have anything further.         Thank you.

    15              MR. JONES:     Thank you, Your Honor.

    16              THE COURT:     Final words, Mr. Meda?

    17              MR. MEDA:     Thank you, Your Honor.

    18              Your Honor, Counsel made mention of a comment I made

    19   about shooting in the dark.       Counsel points to the plea

    20   agreement, essentially saying that that should give them

    21   sufficient understanding of what the allegations truly are.

    22              From our perspective, that's nothing more than a

    23   misdirection, because that doesn't provide us some general

    24   reference to the plea agreement, does not address the City's

    25   responsibility of alleging the facts with specificity.             And the


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     1   City, despite having an opportunity to amend its complaint, has

     2   failed to do so.

     3                As it relates to the services provided by

     4   Mr. Paradis, the City says, well, you know, we're going to

     5   flesh that out during litigation.        But the problem here is

     6   that's actually not the way this is supposed to work.              There is

     7   no allegation of the harm to the City.         There is no -- and just

     8   like I mentioned earlier, when I was up here before, as it

     9   relates to the actual services, there is no allegation that the

    10   services were not provided.

    11                There is no allegation that the services were not

    12   exemplary.     There is no allegation that the services were

    13   somehow defective or deficient.        And there's no allegation that

    14   the services caused -- or the performances of the services

    15   caused any damage, nor is there any allegation that the way the

    16   contract was arranged, even on a no-bid basis, caused the City

    17   any damage.     So Judge, we think that those are certainly

    18   important deficiencies that have not been remedied.

    19                I just want to say one last thing before I conclude.

    20   Mr. Paradis is dealing with a lot of things on his plate.                I'm

    21   not saying that as an excuse for anything.          It's just a

    22   reality.     He is dealing with defending this lawsuit.           He has

    23   recently lost his job, so he is out there looking for work.                He

    24   is also expected to be in Los Angeles every couple of weeks to

    25   provide information to the government, and so he has that


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     1   obligation.

     2              I only mention this to you because I expect there's

     3   going to be a time when we have to answer the complaint in some

     4   fashion.   And when that time comes, we would ask your

     5   consideration to give us 45 days to file that answer.

     6              THE COURT:     Okay.

     7              MR. MEDA:     Thank you.

     8              THE COURT:     You're welcome.

     9              Okay.    I had intended to rule from the bench today,

    10   but I think I need to go back and take a look at the Short

    11   case.   So what I will probably do is -- because it's going to

    12   be fairly lengthy, I think -- I think what I'll probably do,

    13   when I go back, is take a look at my calendar and set a time

    14   next week where you can just call in, and I'll put the ruling

    15   on the record.     And we'll go from there.

    16              I don't see that 45 days, Mr. Meda, if we get to an

    17   answer, is going to be an issue.        I'd suspect, given the

    18   statement I just made, all you'll have to do is talk to

    19   Mr. Jones, and there'll be an easy stipulation to get that

    20   done.

    21              So let me commend the parties on the briefs.                Long as

    22   they may have been, they were very good.          The exhibits, I feel

    23   like I've been through trial already.         But I really do

    24   appreciate the briefs.      I appreciate the arguments.           I

    25   appreciate the professionalism.        Too often, these types of


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     1   hearings turn into shouting matches, so I commend both counsel.

     2              And to the junior-most member here, it doesn't always

     3   look like this.     So you were at a good day.

     4              So thank you all.      I'll be in touch.      It'll probably

     5   be Wednesday or Thursday next week I'll give you the ruling.

     6   Thank you.

     7              MR. MEDA:     Thank you, Judge.

     8              MR. JONES:     Your Honor.

     9              THE COURT:     Um-hum.

    10        (Proceedings Concluded)

    11

    12

    13        I certify that the foregoing is a correct transcript from

    14   the record of proceedings in the above-entitled matter.

    15

    16   Dated: July 10, 2022                     ____________________________
                                                  eScribers, LLC
    17                                            7227 N. 16th Street
                                                  Suite #207
    18                                            Phoenix, AZ 85020

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